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                                                                                        AT ROANOKE, VA
                                                                                             FILED
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA                                NOV O8 2019
                                DANVILLE DIVISION                                     J_uu~ 71 •,1"1'78~KI ~
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    UNITED STATES OF AMERICA                    )
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                                                )      Case No.: 4:18-cr-00011
    v.                                          )
                                                )
                                                )
    MARCUS JAY DAVIS,                           )
                                                )      By: Michael F. Urbanski
           Defendant.                           )      Chief United States District Judge

                                  MEMORANDUM OPINION

           This matter comes before the court on the motion of defendant Marcus Jay Davis to

    dismiss all or some counts of the First Superseding Indictment based on prosecutorial

    misconduct related to certain discovery violations. ECF No. 1064. The government has

    responded. ECF ~o. 1070. The court has reviewed the parties' pleadings and the newly

    disclosed state grand jury transcripts and concludes that Davis has suffered some prejudice

    because of the late evidentiary disclosure. As a result, the court will dismiss Count Ten of the

    First Superseding Indictment. Accordingly, Davis's motion to dismiss is GRANTED in part

    as it relates to dismissing Count Ten of the First Superseding Indictment and DENIED in

    part as it relates to dismissing Counts One, Eleven, Twelve, and Thirteen of the First .·

    Superseding Indictment. The court is compelled to issue this intermediate sanction for the

    repeated failings by the prosecution team, and particularly the Commonwealth's Attorney for

    the City of Danville and Special United States Attorney, Michael Newman, to comply with the

    court's discovery orders and to timely provide discovery bearing on gang violence in Danville

    to the defense. Because of the continued nature of the government's actions, the court is




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    convinced that to allow the repeated discovery violations to go undeterred would send a

    message that discovery orders in complex criminal cases may be trifled with at severe costs to

    the rule oflaw and the fairness of our criminal justice system. To deter future violations of the

    court's discovery orders, and to remedy the prejudice sustained by the defense in this case by

    repeatedly having to divert their attention from the ongoing trial to review, evaluate, and

    address newly disclosed state grand jury transcripts concerning gang activity in the Danville

    area, the court will impose a Federal Rule of Criminal Procedure Rule 16(d) sanction. For these

    reasons and those that follow, the court dismisses Count Ten of the First Superseding

    Indictment against Marcus Davis. Davis will face the jury next week on Count One, Eleven,

    Twelve, and Thirteen, for which he continues to face a maximum penalty of life imprisonment.

                                                   I.

           This is not the first time the court has had to address claims of prosecutorial

    misconduct in this case. First, two days before jury selection was scheduled to begin, the

    government notified defendants that it had discovered a working copy of the DaShawn

    Anthony interview tape that it had originally claimed to be lost or corrupted. The court

    addressed this late disclosure in its Memorandum Opinion, dated October 11, 2019. ECF No.

    905. At the time, the trial was yet to begin, and so the court determined that the newly disclosed

    video was not prejudicial to the defendants because the defendants had sufficient time to

    review the interview and accommodate any new information in their defense. The court also

    determined that the late disclosure was not prejudicial because the government did not intend

    to call Anthony as a witness.




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            Then, on October 15, 2019, immediately following the swearing in of the jury in this

    trial, the court was presented with the government's second discovery violation. Defense

    counsel alerted the court and the government that it had become aware of a multijurisdictional

    grand jury ("MJGJ") that had been impaneled by the City of Danville and Pittsylvania County

    to investigate violent crimes in the Danville, Virginia area. The government then disclosed

    transcripts of Ontwoinette Epperson and Lashanda Washington, two individuals who testified

    before the MJGJ on November 7, 2017. Both Epperson and Washington appeared on the

    government's witness list. The next day, on October 16, 2019, after opening statements were

    made by the government and defense counsel, the court addressed the question of additional

    MJGJ testimony. At first, the government, upon information provided by Mr. Newman,

    informed the court that there were no additional transcripts. 1 However, after further caucus,

    the government informed the court that more witnesse~ testified before the MJGJ. As was

    later revealed, those witnesses included Tanikqua Fuller and Laquante Adams, both named

    defendants in the First Superseding Indictment, and Tyson Bowens, a government witness. 2

    The government eventually uncovered other Special Grand Juries also related to violent crime

    in the Danville, Virginia area. The court granted a continuance in the case to allow the

    government time to produce the transcripts to the defendants and to give the defendants time

    to incorporate the new evidence into their defense.




    1 In the government's response in opposition to Davis' motion to dismiss, the government attempts to distance
    the United States from Mr. Newman. Mr. Newman is a Special United States Attorney in this case and, until
    now, has remained counsel of record in this case.
    2 Other persons testifying before the MJGJ appeared on the government's witness list in this case, but ultimately

    were not called to testify at trial.

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           Based on the late disclosure of this state grand jury information, counsel for the

    defendants filed a motion to dismiss the First Superseding Indictment, claiming prosecutorial

    misconduct, a violation of Brady v. Maryland, 373 U.S. 83 (1963), and a violation of the court's

    Third Amended Scheduling Order. The government responded, arguing that the late

    disclosure was unintentional, did not prejudice the defendants, and any evidence was

    cumulative or speculative.

           The court undertook a painstakingly thorough investigation of the transcripts provided

    by the government and determined that there was not a Brady violation and that the

    defendants did not suffer prejudice as a result of the late-disclosed testimony. The court

    entered a Memorandum Opinion denying the motions to dismiss on October 11, 2019. ECF

    No. 1031. The court relied on a number of factors. First, the court found that the introduction

    of the new evidence was not prejudicial because the evidence came to light before the first

    witness testified. Second, the trial was delayed for more than ten days, which allowed

    defendants sufficient time to incorporate any new evidence into their defense. Third, the court

    determined that any evidence provided in the new transcripts was cumulative, speculative, or

    irrelevant. Although the court determined there was no prejudice to the defendants, in order

    to mitigate any potential prejudice and to deter future misconduct, the court imposed certain

    sanctions on the government. The court limited the government's ability to use any new

    evidence provided in the grand jury transcripts or to question any of the witnesses about such

    testimony. The court also took the unusual steps of allowing defendants to conduct a second

    opening statement and instructing the jury as to the cause of the delay. The court intended




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    this ruling to conclude the discovery debacle and ruled that the trial would begin on Monday,

    October 28, 2019, in Danville, Virginia. 3

            Meanwhile, on October 18, 2019, Davis filed a motion to permit inspection of MJGJ

    documents from the Danville Circuit Court, ECF No. 945. On October 25, 2019, the court

    ordered the government to produce all state special and MJGJ notes, transcripts, and other

    evidence relating to or pertaining in any way to the allegations brought in the First Superseding

    Indictment, to the extent the materials had not already been produced. ECF No. 1036.

            On October 28, 2019, the trial resumed, and the government presented its first witness.

    At 9:33 p.m. that evening, the government alerted Davis and the court by email that it had

    identified additional state grand jury testimony of Detective Jerry Pace that had not yet been

    disclosed. 4 At a hearing the next morning on October 29, 2019, the court heard argument

    from the government and Davis as to how to remedy this new discovery violation. During

    that hearing, Mr. Newman appeared in court with two bankers' boxes filled with manila folders

    containing tapes and notes relating to the Danville MJGJ and Special Grand Juries called

    between 2015 and 2018 and various other loose papers consisting of correspondence with the

    state court, copies of subpoenas, and other miscellaneous papers.

            During the October 29, 2019 hearing, Mr. Newman outlined the steps he took to

    produce all remaining evidence relating to the grand juries, including personally going to the


    3  Perhaps reflecting the magnitude of the discovery problem, seven of the eight defendants facing trial entered
    guilty pleas in the days immediately following the late discovery disclosure. ECF Nos. 974, 978, 982, 992, 1005,
    1017, and 1029. Five of these defendants, facing a mandatory life sentence if convicted of Count Ten, entered
    Rule ll(c)(l)(C) guilty plea agreements providing for 13 to 15 year sentences. Two other minor actors,
    defendants Ashley Ross and Tanikqua Fuller, pled guilty and received sentences of probation. Davis is the sole
    remaining defendant.
    4 · It is evident that the United States Attorneys were as blindsided as the court and defense by the

    Commonwealth's Attorney's continued revelations of unreviewed state grand jury testimony.

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    circuit court to obtain the files. The court and Davis conducted extensive questioning of Mr.

    Newman regarding the grand juries and Mr. Newman's record keeping process. Upon

    recommendation by the government, a member of both the government and Davis' trial team

    were excused from the court room to listen to tapes and examine documents contained in the

    two bankers' boxes. Following the close of evidence for the day, the government provided the

    court and Davis with a rough transcript of Det. Pace's grand jury testimony for review that

    evenmg.

           The next morrung, on October 30, 2019, the court heard argument from the

    government and Davis as to what should be done concerning Det. Pace's testimony and the

    other newly disclosed evidence contained in the bankers' boxes. Davis renewed by oral motion

    his motion to dismiss the First Superseding Indictment, arguing that this late disclosure was

    another violation of the court's discovery orders and that Davis has suffered prejudice. Upon

    review, the testimony of Det. Pace was directly related to the gang shootings at issue in this

    case, including the shootings on Berryman Avenue and Sunset Avenue, about which there was

    substantial trial testimony. In addition, this testimony articulated alternative reasons for the

    shootings other than the furtherance of the RICO conspiracy alleged by the government. Det.

    Pace testified:

                      Umm ... I can tell you this, a lot of the individuals involved in the
                      investigation that we've uncovered are gang members um I don't
                      know if this is gang activity. I don't know if it's actually one gang
                      against another I just know a lot of individuals are involved in
                      gangs. Truthfully what I've been told, this whole thing started
                      over a breakup between a gentleman and a female and at the same
                      time the female that broke up with the gentleman started dating
                      a woman and her brother got robbed in a dice game by one of
                      the ... by the ex-boyfriend if that makes sense. So it could be a
                      domestic or it could be a gambling debt gone wrong. I'm not sure

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                    at this time. A robbery so to speak. That's what we think this
                    whole thing started over and then it just retaliated one back and
                    forth. 5

            Davis argues this newest discovery violation prejudiced him because: (1) he has had to

    continually change trial strategy based on new evidentiary disclosures; (2) he lost a member of

    his trial team for a day of trial; and (3) he is not confident that all relevant evidence or testimony

    has now been disclosed, or that the defense will not be surprised by belated disclosures in the

    midst of trial again. 6 The government argued that the disclosure, while a violation of the court's

    Scheduling Order, was not prejudicial to the defendant.

            If that were not enough, questions again surfaced over the weekend of November 3-

    4 regarding the government's production. Defense counsel asserted that state court records

    suggested that a MJGJ was held on December 16, 2017, but no transcripts from that date had

    been produced. At the start of trial on November 5, 2019, the court again directed the

    government to contact Mr. Newman to address this discrepancy. After the evidence was

    concluded on November 5, the court heard testimony from Mr. Newman as to whether the

    MJGJ met on December 16, 2017. For various reasons, Mr. Newman concluded that the MJGJ

    did not meet on that date. Remarkably, however, during the course of Mr. Newman's

    November 5, 2019 testimony, the court was made aware that the MJGJ continued in 2018 and

    2019, and that no one had not reviewed the testimony taken at those sessions to see whether

    any of it bore on the issues of this case. The next day, November 6, 2019, nearly a month since

    trial began, the government produced four additional transcripts to the court and defense



    5 This quotation is from an unverified transcript of Det Pace's state grand jury transcript provided by the
    prosecution.
    6 As will be seen, this aspect of the defense argument was prescient.



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    based on the 2018-2019 MJ GJ. While the content of the transcripts appears to relate to events

    post-indictment, the testimony of at least two witnesses during that session, one of whom

    testified in this case, references gang-related shootings and the subject of this case, the Rollin'

    60s Crips.

           It is distressing to the court that, after all of the wailing and gnashing of teeth that

    accompanied the government's myriad discovery failings, no one from the government's team

    had taken the steps necessary to assure the defense and the court that all relevant discovery

    had been produced. The sanction imposed by the court reflected in this opinion is required by

    the serial nature of the discovery failings in this case.

                                                    II.

       a. Sanctions for prosecutorial misconduct.

           The decision to impose sanctions pursuant to Rule 16(d)(2) lies within the sound

    discretion of the trial court. United States v. Young, 248 F.3d 260,269 (4th Cir. 2001); see also

    United States v. Barile, 286 F.3d 749, 758 (4th Cir. 2002) ("Upon finding a violation of Rule

    16, the district court has discretion under the Federal Rules of Criminal Procedure to

    determine the proper remedy.") In the exercise of its discretion relating to discovery violations,

    however, the court must consider "the reasons for the government's delay and whether it acted

    intentionally or in bad faith; the degree of prejudice, if any, suffered by the defendant; and

    whether any less severe sanction will remedy the prejudice and the wrongdoing of the

    government." United States v. Gonzales-Flores, 701 F.3d 112, 116 (4th Cir. 2012)

    (quoting United States v. Hastings, 126 F.3d 310, 317 (4th Cir. 1997)); see also United States




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    v. Muse, 83 F.3d 672, 675 (4th Cir. 1996) (finding that a trial court has discretion to fashion

    an appropriate remedy for a discovery violation).

           Further, the Fourth Circuit has held that "[w]hen a court sanctions the government in

    a criminal case for its failure to obey court orders, it must use the least severe sanction which

    will adequately punish the government and secure future compliance." Hastings, 126 F.3d at

    317. The Fourth Circuit has also found that "a continuance is the preferred [discovery]

    sanction." United States v. Sterling, 724 F.3d 482, 512 (4th Cir. 2013).

           One potential, yet severe, sanction for prosecutorial misconduct is for the court to fully

    dismiss the indictment. In order to dismiss an indictment for prosecutorial misconduct, a court

    must find that the defendants were prejudiced by the misconduct. Bank of Nova Scotia v.

    United States, 487 U.S. 250, 263 (1988) (A district court has "no authority to dismiss the

    indictment on the basis of prosecutorial misconduct absent a finding that petitioners were

    prejudiced by such misconduct."); see also United States v. Derrick, 163 F.3d 799, 807 (4th

    Cir. 1998) ("[T]he Court's analysis and the text of its opinion confirm that Nova Scotia's

    holding applies equally to prosecutorial misconduct that occurs at the pretrial and trial stages

    of a prosecution.").

           In Nova Scotia, the Supreme Court held that "a federal court may not invoke

    supervisory power to circumvent the harmless-error inquiry prescribed by Federal Rule of

    Criminal Procedure 52(a)." 487 U.S. at 254. In other words, a district court must ask if the

    error was harmless before imposing severe sanctions for prosecutorial misconduct. For

    example, in United States v. Hasting, 461 U.S. 499, 506 (1983), where the Supreme Court

    reversed and remanded the Seventh Circuit's reversal of a conviction based on prosecutorial


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  misconduct, the Supreme Court found the "[s]upervisory power to reverse a conviction is not

  needed as a remedy when the error to which it is addressed is harmless since, by definition,

  the conviction would have been obtained notwithstanding the asserted error."

         Dismissal of an indictment may be warranted when egregious government conduct is

  "so outrageous as to shock the conscience of the court." United States v. Dyess, 478 F.3d 224,

  234 (4th Cir. 2007) (internal citations omitted). A court may dismiss an indictment as a sanction

  for a prosecutor's failure to obey court orders or other violations of law pursuant to its

  supervisory power when the violation caused prejudice to the defendant or posed a substantial

  threat thereof. United States v. Goodson, 204 F.3d 508, 514 (4th Cir. 2000). However,

  dismissing the entire indictment is a drastic and severe sanction. United States v. Lee, 906 F.2d

  117, 120 (4th Cir. 1990) (finding that "the district court erred in dismissing the indictment

  because, as the Supreme Court has explained, 'absent demonstrable prejudice, or substantial

  threat thereof, dismissal of the indictment is plainly inappropriate, even though the violation

  may have been deliberate."') (quoting United States v. Morrison, 449 U.S. 361,365 (1981)). In

  Lee, the Fourth Circuit reversed the district court's dismissal of the indictment as "plainly

  inappropriate" because the court did not find the defendant was prejudiced by the

  government's delay. 906 F.2d at 120.

     b. Discovery requirements.

         Federal Rule of Criminal Procedure 16(a)(1)(B)(iii) provides, in pertinent part: "[u]pon

  the defendant's request, the government must disclose to the defendant ... the defendant's

  recorded testimony before a grand jury relating to the charged offense." Fed. Rule Crim. Pro.

  16(a)(1)(E) further provides "the government must permit the defendant to inspect and copy


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  or photograph books, papers, documents, data, photographs, tangible object, buildings, or

  places, or copies or portions of any of these items, if the item is within the government's

  possession, custody, or control and: (i) the item is material to preparing the defense; (ii) the

  government intends to use the item in its case-in-chief at trial; or (iii) the item was obtained

  from or belongs to the defendant." Additionally, the court has entered two orders relating to

  discovery. First, on March 5, 2019, the court entered its Third Amended Scheduling Order,

  ECF No. 364, requiring the government to substantially complete all pretrial discovery by

  April 1, 2019. Second, on October 25, 2019, the court entered an order ordering the

  government to produce all state special and MJGJ notes, transcripts, and other evidence

  relating to or pertaining in any way to the allegations brought in the First Superseding

  Indictment.

                                                III.

         Following the first two claims of prosecutorial misconduct in this trial, the court found

  that the defendants were not prejudiced by the late evidentiary disclosure. When the court

  became aware of the MJGJ and Special Grand Juries impaneled to investigate gang-related

  crimes in the Danville area, the court imposed certain limited sanctions on the government in

  an attempt to mitigate prejudice and deter future misconduct. The court determined that while

  the disclosures at that time might not rise to the heightened level of prejudice to justify

  dismissal of the First Superseding Indictment, as requested by the defendants, something had

  to be done. But even those sanctions did not ensure that all of the state grand jury transcripts

  were produced to the defense in a timely fashion.




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         The court agrees that dismissal of an indictment is a severe sanction that can only be

  imposed following serious prejudice to the defendants. See Hastings, 126 F.3 at 317 (finding

  that "dismissal of the indictment against Hastings was an extreme and inappropriate

  sanction."); Derrick, 163 F.3d at 810 (listing alternative sanctions that were available to the

  court and were not employed prior to dismissal of the indictment). The court also

  acknowledges that any sanctions imposed must be "narrowly tailored." See Hasting, 461 U.S.

  at 506. At this point, the court does not find the actions of the prosecution to rise to the level

  of prejudice that requires a dismissal of the First Superseding Indictment. However, the court

  concludes that an intermediate sanction, something between the initial trial sanctions imposed

  on October 24, 2019 and the dismissal of the First Superseding Indictment, is required.

  Dismissing Count Ten alone is such an intermediate sanction. While Count Ten carries with

  it a mandatory life sentence, if convicted on the other counts in the First Superseding

  Indictment, Davis still faces the maximum penalty of a life sentence.

         In assessing an appropriate sanction for prosecutorial misconduct, the court must

  consider the following factors: (1) the reasons for the government's delay and whether it acted

  intentionally or in bad faith; (2) the degree of prejudice, if any, suffered by the defendant; and

  (3) whether any less severe sanction will remedy the prejudice and the wrongdoing of the

  government. Gonzales-Flores, 701 F.3d at 116. Here, the court finds that the failure of the

  Commonwealth's Attorney's Office to provide the state grand jury testimony to the defense

  was, at best, gross negligence, that Davis has suffered some prejudice as a result of the




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  government's pattern of misconduct, and that a less severe sanction would not be a proper

  remedy or deter future misconduct.

         a. The government's actions constitute gross negligence.

         The first factor the court must consider in sanctioning the government based on

  prosecutorial misconduct is the reason for the government's delay and whether it acted

  intentionally or in bad faith. There was a delay of over seven months from the close of

  discovery pursuant to the court's Scheduling Order and the government's disclosure of the

  existence of the state grand juries and the various relevant transcripts. It is worth noting that

  the undisclosed grand jury evidence did not come to light based on the government's exercise

  of diligence. Rather, this evidence only came to light because the defendants in this case and

  the related Bloods gang trial, United States v. Anthony, Case No. 4:18-cr-00012, noted a

  reference to state grand jury testimony in other discovery and sought its disclosure.

         Once the existence of state grand jury testimony of two witnesses on the government's

  witness list came to light on October 16, 2019, the government's first response was to

  downplay this episode rather than conduct an exhaustive review of the Danville

  Commonwealth's Attorney's records relating to the state grand juries. For example, during the

  October 16, 2019 hearing, the court and Mr. Newman engaged in the following exchange:

                THE COURT: Okay. All right. I appreciate you're telling me [the
                Epperson and Washington] state grand jury transcripts are all
                there is. Mr. Newman, is that right?

                MR. NEWMAN: Yes, Your Honor, that's the only transcripts
                I'm aware of that touches specifically on the actions that are
                before Your Honor today. The August 20th, August 24th, the
                July -- I'm sorry,June 15th, or April 26 days.



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  Trial Tr. 9:3-11, Oct. 16, 2019. ECF No. 954. It took further questions to uncover the fact

  that while the Epperson and Washington transcripts were the only ones in existence, many

  other witnesses, including two defendants and other witnesses in the pending federal

  prosecution, testified before the MJGJ, but their testimony resided in tapes which had not

  been transcribed. At the end of the day, no good reason has been provided as to why the

  testimony before the MJGJ investigating violence in the Danville area was not reviewed and

  timely provided to the defense.

         In short, over the course of the last several weeks, it has been like pulling teeth to

  determine whether the prosecution's discovery obligations, and the court's discovery orders,

  have been met as regards state grand jury investigations of gang violence in Danville. Given

  the fact that defendants and witnesses in this case appeared and testified before these state

  grand juries, at the very least the testimony should have been transcribed and reviewed for

  appropriate disclosure long ago. In this case, neither happened until after the jury was sworn.

         Under the circumstances of this case, the failure to transcribe, review, and produce the

  state grand jury testimony before the trial began amounts to gross negligence. See Chapman

  v. City of Virginia Beach, 252 Va. 186,190,475 S.E. 2d 798, 800-01 (1996) ("Gross negligence

  has been described as the utter disregard of prudence .... It is a heedless and palpable violation

  of legal duty respecting the rights of others which amounts to the absence of slight diligence,

  or the want of even scant care.") (internal citations omitted); see also United States v. Shafer,

  987 F.2d 1054, 1056 - 57 (4th Cir. 1993) (concluding that the government was grossly

  negligent when it failed to disclose Brady material until trial was underway because the

  evidence was in the possession of the local police).


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         When questioned by the court and Davis on October 29, 2019, Mr. Newman, to his

  credit, acknowledged that his record keeping was sloppy and inadequate. Instead of

  maintaining records of who appeared before the MJGJ and Special Grand Juries, Mr. Newman

  relied on the court reporters' written notes on the outside of a manila envelope to record and

  track witnesses that appeared before the grand juries. On at least one occasion identified by

  the defense, the names and numbers on the outside of the manila envelopes did not

  correspond with the number of tapes and names included within the envelope. The scant

  record keeping was compounded by the fact that, inconsistent with the requirements of a state

  statute, Mr. Newman failed to have the court reporter transcribe the testimony and properly

  maintain the records.

         Under Virginia law, in order to impanel a MJGJ, two or more Commonwealth's

  Attorneys, with prior approval from the Attorney General of Virginia, must submit an

  application to the Supreme Court of Virginia. Va. Code §19.2-215.2. Mr. Newman followed

  this lengthy and detailed procedure to impanel the MJ GJ.

         One of the main differences between a regular state grand jury and a MJGJ or Special

  Grand Jury is the presence of a court reporter. Va. Code§ 19.2-215.9 reads, in pertinent part:

                A court reporter shall be provided for a multi-jurisdiction grand
                jury to record, manually or electronically, and transcribe all
                oral testimony taken before a multi-jurisdiction grand jury ....
                Such transcription shall include the original or copies of all
                documents, reports, or other evidence presented to the multi-
                jurisdiction grand jury. The notes, tapes, and transcriptions of the
                reporter are for the use of the multi-jurisdiction grand jury ....
                After the multi-jurisdiction grand jury has completed its use of
                the notes, tapes, and transcriptions, the foreman shall cause them
                to be delivered to the clerk of the circuit court in



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                   whose jurisdiction the multi-jurisdiction grand jury sits, with
                   copies provided to special counsel. 7

  Mr. Newman was aware that Virginia law had different requirements for MJGJ and Special

  Grand Juries, as he had court reporters present during the MJGJ and Special Grand Juries to

  record the testimony. However, Mr. Newman failed to: (i) have the court reporters properly

  transcribe the testimony, as required by statute; and (ii) properly maintain the copies of the

  transcripts. Once the existence of the state grand jury testimony was uncovered, the failure to

  have them timely transcribed significantly slowed the discovery process as the tapes of the

  testimony had to be listened to and transcribed, often in rough form by a prosecution

  paralegal.

          As a Commonwealth's Attorney and member of the prosecution team, Mr. Newman

  "is the representative not of an ordinary party to a controversy, but of a sovereignty whose

  obligation to govern impartially is as compelling as its obligation to govern at all; and whose

  interest, therefore, in a criminal prosecution is not that it shall win the case, but that justice

  shall be done." Berger v. United States, 295 U.S. 78, 88 (1935). While the court does not

  attribute bad faith to Mr. Newman or the prosecution team, the haphazard manner in which

  the testimony taken at these grand jury sessions was documented and maintained, and the

  serial delays in the production of these discovery materials once trial started, amounts to gross

  negligence.




  7 Virginia Code § 19.2-212 provides similar requirements for Special Grand Juries. While the failure to have
  transcripts prepared and filed with the clerk of the court is not, standing alone, sufficient to violate due process,
  Robinson v. Clarke, Case No. 16cv298, 2016 WL 4578331, at *4 (E.D. Va. Aug. 30, 2016), it is emblematic of
  the manner in which the records of these proceedings were handled by the Danville Commonwealth's Attorney.

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         b. Davis has suffered prejudice.

         Davis argues that he has suffered prejudice, and faces substantial risk of additional

  prejudice, because: (1) he has no confidence that there is not more relevant discovery from

  the various grand juries, and the materials that have been disclosed indicate that any additional

  grand jury discovery may prove to be exculpatory; (2) the defense team is forced to deal with

  the newly disclosed evidence during trial rather than prepare for trial; and (3) the pattern of

  discovery violations will undermine confidence in the outcome of the trial. ECF No. 1064.

         The government argues that Davis has not suffered prejudice because any information

  provided in the late discovery is cumulative, speculative, or both. Furthermore, the

  government argues that the new evidence is not exculpatory, does not contain impeachment

  information, and does not implicate Brady. The government contends that Det. Pace's

  testimony was largely irrelevant to any issues related to this case and that the Det. Pace is not

  a government witness. ECF No. 1070.

         The court concludes that Davis has suffered some prejudice from the late disclosure

  of the state grand jury testimony during trial. The court notes that the government's argument

  in its response to Davis' motion to dismiss is cabined solely to the most recent discovery

  violation. However, the court cannot examine prejudice from the discovery violations to Davis

  in isolation and must consider the cumulative nature of the serial discovery violations.

         This is an unusual trial with respect to the amount of discovery provided by the

  government to the defense. Due to the number of defendants, length of the investigation, and

  seriousness of the crimes charged and possible sentences, the court took steps to streamline

  the government's disclosure of evidence to the defendants. First, on August 23, 2018, the


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  court entered an order appointing discovery counsel to oversee the discovery process. ECF

  No. 179. Second, on December 4, 2018, the court entered a scheduling order, directing the

  government to substantially complete all discovery by April 1, 2019. ECF No. 269 (as amended

  by ECF Nos. 297, 315, and 364). A Coordinating Discovery Attorney was retained and a

  special software program, Invendica, employed to manage the massive volume of discovery.

  The court took these steps, in part, to assure that the defendants would have ample time to

  review the voluminous discovery and incorporate it, as applicable, into their defense.

         The court has presided over the trial of this case and has watched the defense scramble

  to absorb this late-breaking discovery while the trial has proceeded. Given the sheer volume

  of the discovery in this case, the court finds the distraction to Davis, in the midst of trial, with

  reviewing and analyzing this material in connection with all of the other discovery of this case,

  to be prejudicial. There are only so many hours in the day for the defense to actively listen to

  the government's witness testimony and prepare for effective cross-examination, not to

  mention review many pages of late disclosed testimony to ascertain potential relevance to this

  case. As noted, because of the enormous volume of discovery in this case, the court ordered

  that all discovery be provided over seven months ago. And yet, in this complicated RICO

  conspiracy case, discovery has continued to stream in after trial started, to the prejudice of

  defendant Marcus Davis.

         In addition to having to incorporate this late-breaking evidence into their trial strategy,

  a member of Davis' trial team was forced to miss an entire day of trial while the parties listened

  to the grand jury tapes found in the bankers' boxes provided by Mr. Newman on October 29,

  2019. At that point, while the government had not finished its case-in-chief, counsel for Davis


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  was forced to both prepare for the cross-examination of the government's witnesses and

  review the. late disclosed grand jury testimony. While counsel in this case are effective

  advocates, the time crunch on all was palpable. Given the enormous amount of discovery

  produced in this case and the time and effort necessary to marshal it for effective trial cross-

  examination, the continued discovery violations and disclosure of new evidence represent

  some prejudice to Davis.

         Further, in his most recent motion to dismiss filed on November 3, Davis identified

  two discrepancies regarding the grand jury information provided by Mr. Newman, including a

  scheduled MJGJ on December 16, 2017, for which there are no documents or tapes, and an

  April 26, 2016 meeting of the Special Grand Jury, for which there are no records of subpoenas.

  To try to put a lid on this Pandora's Box, after the close of evidence on November 5, 2019,

  the court held a hearing in response to Davis' assertions relating to the grand jury records at

  which the government called Mr. Newman to testify. Mr. Newman testified that at the court's

  direction, Mr. Newman, along with another member of the prosecution team, reviewed the

  grand jury documents at the Danville Circuit Court and determined that there was not a

  scheduled MJGJ meeting on December 16, 2017. The government relied on attendance

  records kept by the court reporter, payment records to the grand jury kept by the clerk of the

  court, and that December 16, 2017 was a Saturday, and the MJGJ did not meet on weekends.

  With respect to the April 26, 2016 meeting of the Special Grand Jury, Mr. Newman testified

  that he produced all subpoena records relating to the MJGJ and Special Grand Juries between

  2015 and 2018 in his possession to the prosecution team. The fact that his disclosure did not




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  contain subpoena records for April 26, 2016, only meant that he no longer had copies of such

  subpoenas.

         During his testimony on November 5, 2019, Mr. Newman revealed that although the

  MJGJ continued in 2018 and 2019, he had not looked to see whether the testimony taken

  there bore on the issues of this case. To some extent, the failure to examine the testimony

  taken during these grand jury sessions might be excused by their subsequent dates, as the initial

  federal Indictment in this case was filed in June 2018. But these dates provide the prosecution

  no refuge from their discovery obligations as the Indictment was superseded on November 6,

  2018, alleging that the RICO conspiracy continued through that date.

         Moreover, the transcripts produced by the government at the end of the day on

  November 6, 2019 bear some relation to the cast of characters involved in this case. For

  example, one of the transcripts includes testimony from Detective Newcomb, a government

  trial witness, and Antonio Burton, a self-identified former Rollin' 60s Crips member. Burton's

  testimony describes gang-related conflict in Danville and mentions Tony "Pulla" I<ing, a

  person named multiple times during this trial. In fact, the very next day, on November 7, 2019,

  the government called Det. Newcomb and Tyson Bowens as witnesses. The government

  questioned Bowens about his association with both I<ing and Burton and growing up with

  Burton in the 800s neighborhood. When trial started on November 7, 2019, counsel for Davis

  conceded that they had not yet had a chance to review the four new transcripts as they were

  preparing for the next day's testimony until the early hours of the morning. Plainly, the timing

  of the production of this state grand jury testimony referencing witnesses and persons involved

  in this case has prejudiced Davis to some extent.


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         In the end, the court finds that the distraction of this late-breaking discovery has caused

  some prejudice to Davis. Unlike the earlier disclosures, the most recent revelations have come

  during trial while evidence was being taken. Moreover, Det. Pace's testimony produced on

  October 29, 2019 is to some extent exculpatory as it suggests that certain of the violence in

  this case was not done to further one's standing in a RICO enterprise but resulted from a

  personal domestic dispute or a dice game.

         c. Dismissal of Count Ten is the appropriate intermediate sanction.

         Because the court has determined that Davis has suffered some prejudice as a result of

  the late disclosed evidence and that the prosecution was grossly negligent in complying with

  their discovery obligations, the. only remaining question is whether the court will impose

  sanctions and, if so, what is the proper sanction. While the Fourth Circuit has stated that "a

  continuance is the preferred [discovery] sanction," Sterling, 724 F.3d at 512, the decision to

  impose a sanction lies within the sound discretion of the court. Young, 248 F.3d at 269. The

  court concludes that the intermediate sanction between a continuance and full dismissal of the

  indictment is a dismissal of Count Ten of the First Superseding Indictment. This dismissal

  remedies the discovery violation as to the prejudice caused to Davis, adequately sanctions the

  government for its pattern of discovery violations, and helps deter future violations.

         The government argues that dismissal of Count Ten is too severe a penalty for violating

  the court's Scheduling Order. The government relies on a number of cases to make this

  argument, all of which are distinguishable from the case at hand. First, the government

  identifies United Sates v. Lowery, 284 F. App'x 64, 70 (4th Cir. 2008), where the prosecution

  produced to the defendant a memorandum before trial, but after the date in the scheduling


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  order. In Lowery, the court found that the government produced the one-page document

  before trial, giving the defendant sufficient time to fully analyze the statement before trial

  began. In Unites States v. Soberon, 929 F.2d 935 (3d Cir. 1991), the Third Circuit found that

  the district court abused its discretion by dismissing a count of an indictment based on

  prosecutorial misconduct before a grand jury. Similarly, in United States v. Accetturo, 858 F.2d

  679 (11th Cir. 1988), the Eleventh Circuit found no prejudice to defendant where the

  government delayed telling the defendant's attorney that he was also a target of the grand jury

  investigation. As with Lowery, the issues in Soberon and Accetturo occurred before trial and

  were limited to issues in front of a grand jury. Moreover, each of these cases involved single,

  specific instances of misconduct as opposed to the ongoing serial nature of discovery

  violations that have plagued the trial of this case.

         The only case with facts relevant to the case at hand that the government identifies is

  United States v. Parris, 16 F. App'x 700 (9th Cir. 2001). In Parris, the Ninth Circuit found that

  the government's disclosure of two exhibits after five days of trial, when paired with two other

  incidents of prosecutorial misconduct, did not qualify as the type of "flagrant misbehavior"

  required to warrant dismissal under the court's supervisory powers. Id. at 701. Parris is

  distinguishable because in that case the court found the government's conduct was due to

  incompetence and other non-invidious factors, id., while here the prosecution, acting through

  the Danville Commonwealth's Attorney, serially violated the court's orders. The court finds

  that these repeated violations require the intermediate sanction of the dismissal of Count Ten.

         Additionally, the court has twice adhered to the path prescribed in Sterling. First,

  responding to the government's late disclosure of the Anthony tape, the court determined that


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  no sanctions were required, and a continuance was not necessary because the defendants had

  sufficient time to incorporate the tape into their defense. Second, in response to the second

  discovery violation regarding the first disclosure of the grand jury transcripts, the court

  imposed certain sanctions, including a lengthy continuance to allow the defendants enough

  time to weave the new testimony into their cases. At that point no testimony had been given

  and no evidence had been received, and the court attempted to remedy any prejudice by

  restricting the government from introducing certain evidence and permitting Davis to give

  another opening statement.

          Now we are at strike three, and the government has again violated the court's orders

  and Fed. Rule Crim. Pro. 16(a). Because violating two court orders concerning discovery is a

  serious concern and the previous continuance was ineffective at deterring additional discovery

  failings by the Danville Commonwealth's Attorney, the court finds that a more serious

  sanction is necessary and appropriate. Indeed, at this late date a continuance is hardly feasible

  as the evidence was concluded on November 8, 2019, just two days after the last transcripts

  were delivered. However, the court recognizes that the level of prejudice sustained does not

  rise to such a level as to justify dismissing the entire First Superseding Indictment. At this

  point in the case, having first hand experienced the practical problems associated with the trial

  of this case amidst a cascade of late produced state grand jury testimony, the court sees little

  option but to impose an intermediate sanction and dismiss Count Ten of the First Superseding

  Indictment. Davis remains subject to the jury's decision on the remaining counts. If convicted

  on those counts, Davis continues to face a maximum penalty of life imprisonment.




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          As an additional sanction, Mr. Newman is dismissed as counsel of record for the United

   States in this case.

                                                IV.

           For the reasons stated above, Davis' motion to dismiss is GRANTED in part as it

  pertains to dismissing Count Ten of the First Superseding Indictment and DENIED in part

   as it pertains to dismissing Counts One, Eleven, Twelve, and Thirteen of the First Superseding

  Indictment. Further, Michael Newman is DISMISSED as counsel of record for the United

  States in this case.



           It is so ORDERED.




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                                              Michael F. Urbanski
                                              Chief United States District Judge




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